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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               )
REPUBLICAN NATIONAL                            )
COMMITTEE,                                     )
                                               )
                Plaintiff,                     )
                                               )
       v.                                      )       Case No. 1:22-cv-00659-TJK
                                               )
NANCY PELOSI, et al.,                          )
                                               )
                Defendants.                    )
                                               )


                  DECLARATION OF J. JUSTIN RIEMER IN SUPPORT
              OF PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
       I, J. Justin Riemer, hereby declare as follows under the penalty of perjury.

       1.       The following statements are based on my personal knowledge, and if called to

testify I could swear competently thereto.

       2.       I am over 18 years of age and of sound mind.

       3.       I am a citizen of the United States.

       4.       I received the degree of Bachelor of Arts in History and Religion from Gettysburg

College and the degree of Juris Doctor from the University of Baltimore School of Law.

       5.       I am the Chief Counsel for the Republican National Committee (“RNC”), a

position I have held since December of 2018. In this role, I am responsible for managing all legal

matters for the RNC.

       6.       The RNC is the national party committee of the Republican Party. It is an

unincorporated organization registered with the Federal Election Commission (“FEC”) under 52

U.S.C. § 30101(14). The RNC exists to advance the Republican Party and its electoral prospects.

It conducts party business, builds party infrastructure, supports Republican candidates and state
parties, advances Republican policy goals, and raises funds to support these efforts.
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       7.       Since its establishment, the U.S. House Select Committee to Investigate the

January 6th Attack on the U.S. Capitol (“Select Committee”) has occasionally contacted the

RNC, its staff, and former staff to inquire as to voluntary meetings with certain current and

former RNC staffers. The RNC has been cooperative in facilitating such voluntary meetings.

       8.       I have read and am familiar with the subpoena issued by the Select Committee to

Salesforce.com (“Salesforce Subpoena”).

       9.       The Select Committee did not provide the RNC with notice of the Salesforce

Subpoena. Rather, the RNC learned of the Salesforce Subpoena from Salesforce.com.
       10.      To date, no member of the Select Committee or Select Committee staff has

contacted the RNC regarding the Salesforce Subpoena.

       I declare under the penalty of perjury under the laws of the United States, 28 U.S.C.

§ 1746, that the foregoing statements are true and correct.



       Signed this 15th day of March, 2022.



                                      J. Justin Riemer




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